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                          UNITED STATES DISTRICT COUNT
                          FOR THE DISTRICT OF MARYLAND
                                 (Northern Division)

JEROME JOHNSON                                     )
                                                   )
       Plaintiff,                                  )
                                                   )
vs.                                                )
                                                   )      Civil Action No.: 19-cv-00698-ELH
BALTIMORE POLICE                                   )
DEPARTMENT, et al.,                                )
                                                   )
       Defendants.                                 )

                               NOTICE OF CROSS APPEAL

       Defendants, Baltimore Police Department, Kevin Davis, Frank Barlow, Daniel Boone, and

Gerald Goldstein, by undersigned counsel, note their cross appeal to the United States Court of

Appeals for the Fourth Circuit from the portion of the September 30, 2022 memorandum opinion

and order that denied Defendants an award of attorneys’ fees. On October 18, 2022, Plaintiff

Jerome Johnson filed his appeal from the September 30, 2022 memorandum opinion and order

granting Defendants’ motions for summary judgment and motion to dismiss as a litigation

sanction. The USCA case number for Mr. Johnson’s appeal is 22-2095.


Date: October 28, 2022                     Respectfully submitted,


                                           /s/ Kara K. Lynch
                                           ____________________________
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                                                          /s/
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                               CERTIFICATE OF SERVICE

       I hereby certify that on October 28, 2022, I caused the foregoing document to be

electronically filed via the Court’s CM/ECF system, which will send an electronic copy of same

to all counsel of record.

                                           _________/s/__________________
                                           Kara K. Lynch (#29351)
